
717 S.E.2d 571 (2011)
FRANCE
v.
Det. Sgt. PFISTER, et al.
No. 278P11-1.
Supreme Court of North Carolina.
August 25, 2011.
Clorey Eugene France, Taylorsville, for France, Clorey Eugene.
Robert C. Montgomery, Senior Deputy Attorney General, for State of N.C.
Roxann Vaneekhoven, District Attorney, for State of N.C.
The following order has been entered on the motion filed on the 7th of July 2011 by *572 Plaintiff-Appellant for Arrest in Judgment and Review of Order for Dismissal:
"Motion Denied by order of the Court in conference, this the 25th of August 2011."
